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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    MATTHEW C. BOCKMON, Bar #161566
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     JAMES E. BLEDSOE
6
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )     NO. CR-S-04-0026-WBS
                                     )
13                  Plaintiff,       )
                                     )     STIPULATION AND [PROPOSED] ORDER
14        v.                         )     CONTINUING STATUS CONFERENCE
                                     )
15   JAMES E. BLEDSOE and            )
     SUSAN E. D'ORTA, aka            )     DATE: June 25, 2007
16      Susan Mason                  )     TIME: 8:30 a.m.
                                     )     JUDGE: William B. Shubb
17                  Defendants.      )
                                     )
18   _______________________________ )
19        It is hereby stipulated and agreed to between the United States of
20   America through Matthew Segal, Assistant United States Attorney;
21   defendant, JAMES BLEDSOE, by and through his counsel, Matthew C.
22   Bockmon, Assistant Federal Defender; and defendant, SUSAN D'ORTA, by
23   and through her counsel, Dwight M. Samuel, Esq., that the status
24   conference presently scheduled for hearing on May 21, 2007, be vacated
25   and rescheduled for status conference on June 25, 2007, at
26   8:30 a.m.
27         This continuance is being requested because defense counsel
28   Dwight M. Samuel is currently in trial.      Also, the parties continue to
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1    work towards a resolution of the matter, and are exchanging discovery
2    regarding loss and restitution; counsel needs additional time to
3    consult with their out-of-district clients regarding such loss and
4    restitution.
5          IT IS FURTHER STIPULATED that the period May 21, 2007, through
6    and including June 25, 2007, be excluded in computing the time within
7    which trial must commence under the Speedy Trial Act, pursuant to 18
8    U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4 for continuity and
9    preparation of counsel and 18 U.S.C. § 3161(h)(8)(B)(ii) and Local Code
10   T2 for complexity.
11         IT IS FURTHER STIPULATED that the parties agree to toll the
12   statute of limitations from the date of this stipulation until June 25,
13   2007, for any offenses for which the statute of limitations has not
14   expired.
15   Dated: May 18, 2007
16                                           Respectfully submitted,
17                                           DANIEL J. BRODERICK
                                             Federal Defender
18
                                             /s/ Matthew C. Bockmon
19                                           ________________________________
                                             MATTHEW C. BOCKMON
20                                           Assistant Federal Defender
                                             Attorney for Defendant
21                                           JAMES E. BLEDSOE
22
                                             /s/ Matthew C. Bockmon for
23                                               Dwight M. Samuel
                                             _______________________________
24                                           DWIGHT M. SAMUEL
                                             Attorney for Defendant
25                                           SUSAN E. D'ORTA
                                             per telephonic authority
26
27   //
28   //


     Stipulation & Order                      2
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1
     Dated:   May 18, 2007
2
                                             MCGREGOR W. SCOTT
3                                            United States Attorney
4                                            /s/ Matthew Segal
                                             _________________________________
5                                            MATTHEW SEGAL
                                             Assistant U.S. Attorney
6                                            per telephonic authority
7
8
                                         O R D E R
9
     IT IS SO ORDERED.
10
     Dated:   May 18, 2007
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     Stipulation & Order                      3
